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                   IN THE UNITED STATES BANKRUPTCY COURT FOR
                       THE SOUTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                          CHAPTER 13 NO.:

JESSIE BENARD                                                              19 – 01861 – NPO



                        TRUSTEE’S OBJECTION TO CONFIRMATION

        COMES NOW Trustee, Harold J. Barkley, Jr., and files this his Objection to Confirmation
of the Debtor’s Chapter 13 Plan; and in support thereof would most respectfully show unto this
Honorable Court as follows:
        1.      The Debtor filed a Chapter 13 Petition on May 17, 2019 and a 341(a) Meeting of
Creditors was held on July 16, 2 019.
        2.      Upon information and belief, this plan has not been filed in good faith.
        3.      That, Debtor proposes to start his on-going mortgage payment in June 2019 with
an arrearage through May 2019. The Trustee does not have sufficient funds on hand to start the
mortgage in said month. Debtor should be required to bring his case current or file a modified
plan with a proposed start date for the on-going mortgage in a later month or confirmation
should be denied and this case dismissed.
        4.      The Trustee hereby objects to any amended plan filed hereafter.
        5.      Other grounds to be shown at a hearing hereon.
        WHEREFORE, PREMISES CONSIDERED, Trustee prays that this Objection be received
and filed and at a hearing hereon confirmation be denied and for such other, further and general
relief to which the Trustee and this bankrupt estate may be entitled.
        Dated: July     17       , 2019

                                                 Respectfully submitted,

                                                 /s/Harold J. Barkley, Jr.
                                                 HAROLD J. BARKLEY, JR. – MSB #2008
                                                 CHAPTER 13 TRUSTEE
                                                 POST OFFICE BOX 4476
                                                 JACKSON, MS 39296-4476
                                                 PHONE: 601/362-6161
                                                 FAX: 601/362-8826
                                                 EMAIL: HJB@HBARKLEY13.COM
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                                       CERTIFICATE

        I, Harold J. Barkley, Jr., Trustee, do hereby certify that I have this date mailed a true and
correct copy of the foregoing pleading to the following parties by United States Mail, postage
prepaid or by ECF Filing Notification:

Office of the U. S. Trustee
Ustpregion05.ja.ecf@usdoj.gov

Hon. Robert Rex McRaney, Jr.
mcraneymcraney@bellsouth.net

Jessie Benard
5590 Nailor Road
Vicksburg, MS 39180


Dated: July       17        2019


                                                  /s/Harold J. Barkley, Jr.
                                                  HAROLD J. BARKLEY, JR.
